            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 1 of 19




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12   POINT REYES SEASHORE RANCHERS ASSOCIATION
13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
     RESOURCE RENEWAL INSTITUTE;                        Case Number: 3:22-cv-00145-MMC
16   CENTER FOR BIOLOGICAL DIVERSITY;
17   and WESTERN WATERSHEDS PROJECT,                    [PROPOSED] ANSWER OF
                                                        DEFENDANT-INTERVENOR
18                 Plaintiffs,
19   v.
20
     NATIONAL PARK SERVICE, a federal
21   agency,
22                 Defendant,
23
     POINT REYES SEASHORE RANCHERS
24   ASSOCIATION,
25                 Proposed Defendant-
26                 Intervenor.

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     [PROPOSED] ANSWER                                                     4:22-cv-00145-MMC
             Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 2 of 19




1                                                   ANSWER
2            Defendant-Intervenor Point Reyes Seashore Ranchers Association (“PRSRA”) hereby
3    answers Plaintiffs’ Complaint, Dkt. No. 1, as follows1:
4            1.        Paragraph 1 constitutes Plaintiffs’ characterization of the purposes and basis for

5    this case, to which no response is required. To the extent a response is required, the PRSRA

6    denies the allegations in Paragraph 1.

7            2.        Paragraph 2 largely characterizes the Point Reyes Act, 16 U.S.C. § 459c, and

8    Golden Gate National Recreation Area (“GGNRA”) Act, 16 U.S.C. § 460bb, which speak for

9    themselves and require no response. The PRSRA denies that the Acts did not make ranching a

10   purpose of these public lands or encourage ranching thereon.

11           3.        The PRSRA denies the allegations in Paragraph 3.

12           4.        The PRSRA lacks knowledge or information sufficient to form a belief as to the

13   truth of the allegations in the first, second, and third sentences of Paragraph 4. The fourth

14   sentence of Paragraph 4 describes the September 2021 Record of Decision (“ROD”), General

15   Management Plan Amendment and corresponding Environmental Impact Statement

16   (“GMPA/EIS”) process, which documents speak for themselves and are the best evidence of

17   their contents.

18           5-6.      The PRSRA denies the allegations in Paragraphs 5-6.

19           7.        The PRSRA denies the allegations in the first sentence of Paragraph 7. The

20   allegations in the second sentence of Paragraph 7 constitute Plaintiffs’ requested relief, to which

21   no response is required. To the extent a response is required, the PRSRA denies that Plaintiffs

22   are entitled to such relief.

23                                              JURISDICTION
             8-10. The allegations in Paragraphs 8-10 are conclusions of law, which require no
24
     response. To the extent a response is required, the PRSRA denies those allegations.
25
26
27   1
       The headings and numbers used correspond to the headings and paragraph numbers in
     Plaintiffs’ Complaint. The PRSRA denies any allegations implied or made by such headings in
28   the Complaint.
                                                  -2-
     [PROPOSED] ANSWER                                                       4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 3 of 19




1                                      DIVISIONAL ASSIGNMENT
2           11.     The PRSRA admits that if this Court has jurisdiction, then venue is proper in this
3    District and assignment of this case to a judge in the San Francisco or Oakland Division is
4    proper. The PRSRA denies any remaining allegations in paragraph 11.

5                                                  PARTIES

6           12-18. The PRSRA lacks knowledge or information sufficient to form a belief as to the

7    truth of the allegations in Paragraphs 12-18, and thus denies the same.

8           19.     The PRSRA admits that the National Park Service is an agency within the U.S.

9    Department of the Interior and that the Director of the National Park Service is vested with

10   authority to manage units of the National Park System. The PRSRA denies any remaining

11   allegations in paragraph 19.

12                                        LEGAL BACKGROUND

13          National Park Service Organic Act

14          20.     The allegations in Paragraph 20 purport to characterize 54 U.S.C. § 100101(a),

15   which speaks for itself and is the best evidence of its contents.

16          21.     The allegations in Paragraph 21 purport to characterize the National Park Service

17   (“NPS”)’s 2006 Management Policies, which speaks for itself and is the best evidence of its

18   contents.

19          22.     The allegations in Paragraph 22 purport to characterize the National Park Service

20   (“NPS”)’s 2006 Management Policies, which speaks for itself and is the best evidence of its

21   contents.

22          23.     The allegations in Paragraph 23 purport to characterize 54 U.S.C. § 100502,

23   which speaks for itself and is the best evidence of its contents.
            Point Reyes National Seashore Act
24
            24.     The allegations in Paragraph 24 purport to characterize 16 U.S.C. § 459c, which
25
     speaks for itself and is the best evidence of its contents.
26
27
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     [PROPOSED] ANSWER                                                          4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 4 of 19




1           25.     The allegations in Paragraph 25 purport to characterize 16 U.S.C. § 459c-2 and
2    § 459c-4, Pub. L. No. 87-657, § 4, 76 Stat. 538, 540 (1962), and Pub. L. No. 91-223, §2(b), 84
3    Stat. 90 (1970), which speak for themselves and are the best evidence of their contents.
4           26.     The allegations in Paragraph 26 purport to characterize 16 U.S.C. § 459c-6(a)

5    (1970), which speaks for itself and is the best evidence of its contents.

6           27.     The allegations in Paragraph 27 purport to characterize Pub. L. No. 94-567,

7    § 7(a), 90 Stat. 2692, 2695 (1976), which speaks for itself and is the best evidence of its contents.

8           28.      The allegations in Paragraph 28 purport to characterize Pub. L. No. 95-625,

9    § 318(b), 92 Stat. 3467, 3487 (1978), which speaks for itself and is the best evidence of its

10   contents.

11          The GGNRA Act

12          29.     The allegations in Paragraph 29 purport to characterize Pub. L. No. 92-589, § 1,

13   86 Stat. 1299, 1299 (1972), and 16 U.S.C. § 460bb, which speak for themselves and are the best

14   evidence of their contents.

15          30.     The allegations in Paragraph 30 purport to characterize 16 U.S.C.§ 460bb, which

16   speaks for itself and is the best evidence of its contents.

17          31.     The allegations in Paragraph 31 purport to characterize Pub. L. No. 95-625,

18   § 317(c), 92 Stat. 3467, 3485 (1978), which speaks for itself and is the best evidence of its

19   contents.

20                                      FACTUAL BACKGROUND

21          History of Point Reyes National Seashore and Northern District of GGNRA

22          32.     The PRSRA admits the second sentence of Paragraph 32. The PRSRA lacks

23   knowledge or information sufficient to form a belief as to the truth of the remaining allegations
     in Paragraph 32.
24
            33.     The PRSRA admits that the Point Reyes area has a rich cultural heritage and that
25
     the Coast Miwok people have been culturally affiliated with the Point Reyes area for many years.
26
     The PRSRA denies the remaining allegations in the first sentence. The PRSRA admits the
27
     allegations in the second sentence.
28
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     [PROPOSED] ANSWER                                                            4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 5 of 19




1           34.     The PRSRA admits that ranch properties on the Seashore were purchased by the
2    United States in the 1970s. The PRSRA lacks knowledge or information sufficient to form a
3    belief as to the truth of the remaining allegations in Paragraph 34, and thus denies the same.
4           35.     The allegations in Paragraph 35 purport to characterize the 1980 General

5    Management Plan for the Point Reyes National Seashore, which speaks for itself and is the best

6    evidence of its contents.

7           36-37. The allegations in Paragraphs 36-37 appear to purport to characterize the 2021

8    ROD /GMPA for Point Reyes National Seashore, which speak for themselves and are the best

9    evidence of their contents.

10          38.     The allegations in Paragraph 38 and the map accompanying Paragraph 38 purport

11   to depict the location of ranching allotments on public lands managed by NPS on the Seashore;

12   the PRSRA admits that the map depicts the location of 31 ranch allotments and two life-estates

13   in the Seashore and the north district of the GGNRA and that these allotments are located on

14   approximately 28,000 acres of land managed by NPS. As to the any remaining allegations in

15   Paragraph 38, the PRSRA lacks knowledge or information sufficient to form a belief as to the

16   truth of the allegations and accompanying map, and therefore denies same.

17          Natural Resources and Public Uses of the National Seashore and GGNRA

18          39.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

19   truth of the allegations in Paragraph 39, and thus denies the same.

20          40.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

21   truth of the allegations in Paragraph 40, and thus denies the same.

22          41.     Admits that the Seashore provides habitat for a rich array of wildlife. The PRSRA

23   lacks knowledge or information sufficient to form a belief as to the truth of the remaining
     allegations in Paragraph 41, and thus denies the same.
24
            42.     The PRSRA lacks knowledge or information sufficient to form a belief as to the
25
     truth of the allegations in the first sentence of Paragraph 42, and thus denies the same. The
26
     second and third sentences of Paragraph 42 purport to characterize Pub. L. No. 94-389, 90 Stat.
27
     1189 (1976), which speaks for itself and is the best evidence of its contents.
28
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     [PROPOSED] ANSWER                                                            4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 6 of 19




1           43.     The PRSRA admits that there are three herds of tule elk on the Seashore that are
2    known as the Drakes Beach herd, the Limantour herd and the Tomales Point herd; and that the
3    Tomales Point herd is intended to be confined to a 2,600-acre elk reserve on Tomales Point that
4    is bounded by a fence. The PRSRA denies the remaining allegations in this paragraph.

5           44.     The PRSRA admits that the north district of GGNRA is approximately 15,000

6    acres and that Lagunitas Creek and Olema Creek drain to Tomales Bay. The PRSRA denies the

7    remaining allegations in this paragraph.

8           The Harmful Impacts of Ranching on Natural Resources on these Public Lands

9           45.     The PRSRA denies the allegations in Paragraph 45.

10          46.     The PRSRA admits that cattle grazing is authorized on the Seashore and

11   GGNRA. The PRSRA denies the remaining allegations in Paragraph 46.

12          47.     The PRSRA denies the allegations in Paragraph 47.

13          48.     The PRSRA denies the allegations in the first and fourth sentences of Paragraph

14   48. The PRSRA admits the allegations in the second sentence of Paragraph 48. With respect to

15   the third sentence of Paragraph 48, it appears Plaintiffs’ rely on unknown documents and/or

16   conclusions of the National Marine Fisheries Service (“NMFS”), likely including the March 18,

17   2021 Biological Opinion or its characterization in the ROD and/or GMPA/EIS; those documents

18   speak for themselves and are the best evidence of their contents.

19          49.     The PRSRA denies the allegations in the first sentence of Paragraph 49. The

20   PRSRA admits that forage production was previously authorized on a limited number of acres.

21   The PRSRA denies the remaining allegations in Paragraph 49.

22          50.     The PRSRA denies the allegations in the first and second sentences of Paragraph

23   50. The PRSRA lacks knowledge or information sufficient to form a belief as to the truth of the
     allegations in the third sentence of Paragraph 50, and thus denies same.
24
            51.     The PRSRA admits that ranchers use various equipment and infrastructure,
25
     including fencing and off-road vehicles, but denies the remaining allegations in Paragraph 51.
26
            52.     The PRSRA lacks knowledge or information sufficient to form a belief as to the
27
     truth of the allegations in the first and second sentences of Paragraph 52. As to the third
28
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     [PROPOSED] ANSWER                                                            4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 7 of 19




1    sentence, the PRSRA admits that dairies may have higher densities of cows than beef ranches but
2    denies the remaining allegations in the third sentence.
3           53.     The PRSRA denies the allegations in the first sentence of Paragraph 53. The
4    PRSRA admits that residences on ranches often use septic systems, that some ranch residences

5    use springs or wells, and that others obtain water from NPS or a local utility. The PRSRA denies

6    any remaining allegations in Paragraph 53.

7           54.     The PRSRA denies the allegations in the first and fifth sentences of Paragraph 54.

8    The PRSRA admits that trucks visit dairies to collect milk, that trucks are sometimes used to

9    spread manure on certain fields, and that trucks sometimes bring hay to ranches. The PRSRA

10   denies any remaining allegations in this paragraph.

11          55.     The PRSRA denies the allegations in Paragraph 55.

12          56.     The PRSRA denies the allegations in the first sentence of Paragraph 56. The

13   PRSRA lacks knowledge or information sufficient to form a belief as to the truth of the

14   allegations in the second sentence of Paragraph 56, and thus denies the same.

15          NPS’s Failure to Timely Revise its 1980 General Management Plan

16          57.     The PRSRA denies the allegations in Paragraph 57.

17          58.     The PRSRA admits that on February 3, 2000, NPS published a notice of intent in

18   the Federal Register to prepare an environmental impact statement and General Management

19   Plan (“GMP”) for the Seashore, including the north district of GGNRA (65 Fed. Reg. 5365), but

20   denies the remaining allegations in the first sentence of Paragraph 58. The PRSRA denies the

21   allegations in the second sentence of Paragraph 58.

22          59.     The PRSRA admits that NPS initiated a National Environmental Policy Act

23   (“NEPA”) planning process for a Ranch Comprehensive Management Plan in 2014. The PRSRA
     denies the remaining allegations in Paragraph 59.
24
            60.     The allegations in the first sentence of Paragraph 60 purport to characterize the
25
     complaint filed in Resource Renewal Inst. v. Nat’l Park Serv. (RRI v. NPS), 3:16-cv-00688-SBA
26
     (N.D. Cal.). The PRSRA admits that the First Amended Complaint in RRI v. NPS challenged the
27
     alleged failure of the NPS to timely revise the GMP for the Seashore and the NPS’s alleged
28
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     [PROPOSED] ANSWER                                                           4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 8 of 19




1    failure to authorize ranching without sufficient NEPA compliance, and denies any remaining
2    allegations in the first sentence. The PRSRA admits the allegations of the second and third
3    sentences of Paragraph 60.
4           The Listing of the Historic Dairy Districts

5           61.     The PRSRA admits the allegations in Paragraph 61, but avers that the correct

6    name is the Point Reyes Peninsula Dairy Ranches Historic District.

7           62.     The PRSRA admits that the Point Reyes Peninsula Dairy Ranches Historic

8    District is comprised of 17 ranch areas, but denies the remaining allegations in the first sentence

9    of Paragraph 62. The PRSRA admits the allegations in the second and third sentences.

10          63.     The PRSRA admits the allegations in Paragraph 63.

11          64.     The PRSRA admits that among the reasons the two districts are historically

12   significant is because of their association with the history of dairy ranching in Marin County and

13   because they contain buildings and structures that reflect that history.

14          65.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

15   truth of allegations in the first sentence of Paragraph 65, and therefore denies the same. To the

16   extent Plaintiffs characterize the National Register nomination forms for the two historic

17   districts, those documents speak for themselves and are the best evidence of their contents. The

18   PRSRA denies the allegations in the second sentence of Paragraph 65.

19          66.     To the extent Plaintiffs characterize the National Register nomination forms for

20   two historic districts within the Point Reyes area in Paragraph 66, those documents speak for

21   themselves and are the best evidence of their contents. The PRSRA denies any remaining

22   allegations in Paragraph 66.

23          NPS’s Planning Process and Proposed GMPA
            67.     The PRSRA admits that in October, 2017, the NPS issued a newsletter seeking
24
     public input on a conceptual range of alternatives for the GMPA/EIS. The PRSRA lacks
25
     knowledge or information sufficient to form a belief as to the truth of the remaining allegations
26
     in Paragraph 67.
27
            68.     The PRSRA admits the allegations in Paragraph 68.
28
                                                      -8-
     [PROPOSED] ANSWER                                                            4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 9 of 19




1           69-72. The allegations in Paragraphs 69-72 purport to characterize the draft and final
2    Environmental Impact Statements for the GMPA, which documents speak for themselves and are
3    the best evidence of their contents.
4           73.     The allegations in Paragraph 73 purport to characterize the settlement agreement

5    in RRI v. NPS, 3:16-cv-00688-SBA (N.D. Cal.) (ECF No. 143) and the draft or final GMPA/EIS,

6    which documents speak for themselves and are the best evidence of their contents.

7           74-76. The allegations in Paragraphs 74-76 purport to characterize the draft and final

8    Environmental Impact Statements for the GMPA, which documents speak for themselves and are

9    the best evidence of their contents.

10          77.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

11   truth of the allegations in Paragraph 77, and thus denies the same.

12          78.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

13   truth of the allegations in Paragraph 78, and thus denies the same. To the extent Plaintiffs

14   characterize comment letters submitted by Plaintiffs to NPS, those documents speak for

15   themselves and are the best evidence of their contents.

16          79.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

17   truth of the allegations in Paragraph 79, and thus denies the same. To the extent Plaintiffs

18   characterize comment letters submitted by the Environmental Protection Agency (“EPA”) and

19   San Francisco Regional Water Quality Control Board (“SF Water Control Board”) to NPS, those

20   documents speak for themselves and are the best evidence of their contents.

21          80.     The PRSRA lacks knowledge or information sufficient to form a belief as to the

22   truth of the allegations in Paragraph 80, and thus denies the same.

23          The EIS’s Incomplete Baseline Discussion and Impact Analysis
            81-88. The allegations in Paragraphs 81-88 purport to characterize the Environmental
24
     Impact Statement for the GMPA, which document speaks for itself and is the best evidence of its
25
     contents.
26
            89.     The first sentence of Paragraph 89 purports to characterize the EIS, which
27
     document speaks for itself and is the best evidence of its contents. The PRSRA admits that NPS
28
                                                     -9-
     [PROPOSED] ANSWER                                                            4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 10 of 19




1    has not completed an appraisal process for issuing leases under the GMPA, but denies the
2    remaining allegations in the second and third sentences of Paragraph 89.
3           90-91. The allegations in Paragraphs 90-91 purport to characterize the EIS for the
4    GMPA, which document speaks for itself and is the best evidence of its contents.

5           92.      The PRSRA lacks knowledge or information sufficient to form a belief as to the

6    truth of the allegations in the first and second clauses in the first sentence of Paragraph 92. The

7    remainder of the allegations in Paragraph 92 purport to characterize the EIS for the GMPA,

8    which document speaks for itself and is the best evidence of its contents.

9           93-96. The allegations in Paragraphs 93-96 purport to characterize the EIS for the

10   GMPA, which document speaks for itself and is the best evidence of its contents.

11          Water Quality Issues and Developments

12          97.      The PRSRA lacks knowledge or information sufficient to form a belief as to the

13   truth of the allegations in Paragraph 97.

14          Regional Water Board Regulation and Compliance

15          98.      The PRSRA lacks knowledge or information sufficient to form a belief as to the

16   truth of the allegations in Paragraph 98.

17          99.      The allegations in Paragraph 99 purport to summarize the contents of the Water

18   Quality Control Plan for the San Francisco Basin (“Basin Plan”), which document speaks for

19   itself and is the best evidence of its contents. The PRSRA denies any remaining allegations in

20   Paragraph 99.

21          100.     The PRSRA admits that the Water Board issued a Conditional Waiver of Waste

22   Discharge Requirements for Grazing Operations in the Tomales Bay Watershed, Order No. R2-

23   2018-0046 (“the Conditional Waiver”) in 2018, but the PRSRA is without knowledge or
     information sufficient to form a belief as to the truth of the remaining allegations in the first and
24
     second sentences of Paragraph 100, and therefore denies the same. The allegations in the third
25
     sentence characterize a Conditional Waiver, which speaks for itself and is the best evidence of its
26
     contents.
27
28
                                                      -10-
     [PROPOSED] ANSWER                                                             4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 11 of 19




1              101.   The PRSRA lacks knowledge or information sufficient to form a belief as to the
2    truth of the allegations in Paragraph 101, and therefore denies the same. To the extent Paragraph
3    101 purports to characterize the NPS’s certifications, those documents speak for themselves and
4    are the best evidence of their contents. Any remaining allegations constitute conclusions of law,

5    to which no response is required and which are therefore denied.

6              102.   The allegations in Paragraph 102 purport to characterize the General Waste

7    Discharge Requirements for Confined Animal Facilities Within the San Francisco Bay Region,

8    Order No. R2-2016-0031 (“CAF Order”), issued by the Water Board, which document speaks

9    for itself and is the best evidence of its contents.

10             103.   The allegations in Paragraph 103 purport to characterize the Conditional Waiver

11   and/or CAF Order, which speak for themselves and are the best evidence of their contents.

12             California Coastal Commission

13             104.   The PRSRA admits that the NPS prepared a Consistency Determination in

14   October 2020 for the California Coastal Commission (“CCC”). The Consistency Determination

15   speaks for itself and is the best evidence of its contents. The remaining allegations in Paragraph

16   104 constitute conclusions of law, to which no response is required and which are therefore

17   denied.

18             105.   The allegations in this paragraph purport to characterize the Staff Report issued

19   by the CCC on March 26, 2021. The Report speaks for itself and is the best evidence of its

20   contents. To the extent the allegations are inconsistent with the Report, they are denied.

21             106.   The PRSRA admits that on April 22, 2021, the CCC conditionally concurred with

22   the NPS’s Consistency Determination. The remainder of Paragraph 106 purports to characterize

23   the CCC’s decision, which speaks for itself and is the best evidence of its contents, as well as
     specific comments submitted by the public to the CCC, regarding which the PRSRA lacks
24
     knowledge or information sufficient to form a belief as to the truth of such allegations and thus
25
     denies the same.
26
               Water quality monitoring
27
28
                                                       -11-
     [PROPOSED] ANSWER                                                             4:22-cv-00145-MMC
           Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 12 of 19




1           107-108. The PRSRA lacks knowledge or information sufficient to form a belief as to the
2    truth of the allegations in Paragraphs 107-108 and thus denies the same.
3           Drought
4           109.    The PRSRA lacks knowledge or information sufficient to form a belief as to the

5    truth of the allegations in Paragraph 109 and thus denies the same. To the extent Plaintiffs

6    characterize a document in this Paragraph, that document speaks for itself and is the best

7    evidence of its contents.

8           110.    The PRSRA lacks knowledge or information sufficient to form a belief as to the

9    truth of the allegations in Paragraph 110 and thus denies the same.

10          111.    The PRSRA admits that Marin County declared a county-wide drought

11   emergency on May 18, 2021, and that the Marin Municipal Water District reported that the 20-

12   month period between January 1, 2020 and August 1, 2021 had the lowest recorded rainfall for a

13   20-month period in 140 years. The PRSRA denies any remaining allegations in this paragraph.

14          112.    The PRSRA admits that Robert McClure closed his dairy operation at I Ranch

15   and that Mr. McClure continues to raise heifers on I Ranch under his current lease. The PRSRA

16   denies the remaining allegations in Paragraph 112.

17          113.    The PRSRA admits that several ranchers at the Seashore trucked water to their

18   ranches in 2021. The PRSRA denies the remaining allegations in Paragraph 113.

19          Endangered Species Act Consultation

20          114.    The PRSRA admits that NMFS issued a Biological Opinion (“BiOp”) on March

21   18, 2021. The NMFS BiOp speaks for itself and is the best evidence of its contents. The PRSRA

22   denies any remaining allegations in Paragraph 114.

23          115.    The PRSRA admits that the U.S. Fish and Wildlife Service (“FWS”) issued a
     BiOp on June 4, 2021. The FWS BiOp speaks for itself and is the best evidence of its contents.
24
     The PRSRA denies any remaining allegations in Paragraph 115.
25
            NPS’s Record of Decision
26
            116.    The PRSRA admits that the Acting Regional Director, Interior Regions 8, 9, 10
27
     and 12, signed the ROD for the GMPA/EIS on September 13, 2021. The remaining allegations
28
                                                    -12-
     [PROPOSED] ANSWER                                                           4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 13 of 19




1    characterize the contents of the ROD, which speaks for itself and is the best evidence of its
2    contents. The PRSRA denies any remaining allegations in Paragraph 116.
3           117.    The PRSRA admits that the Superintendent of the Seashore signed a document
4    entitled, “Succession Policy for Ranch Operations within the Ranchland Zone for Point Reyes

5    National Seashore and the North District of Golden Gate National Recreation Area,” on

6    September 13, 2021. The PRSRA denies any remaining allegations in Paragraph 117.

7           Modified Alternative B

8           118-123. The allegations in Paragraphs 118-123 purport to characterize the ROD, which

9    speaks for itself and is the best evidence of its contents.

10          Primary justifications for the GMPA

11          124-25. The allegations in Paragraphs 124-125 purport to characterize the ROD, which

12   speaks for itself and is the best evidence of its contents. To the extent a response is required, the

13   PRSRA denies the allegations.

14          126.    The allegations in Paragraph 126 purport to characterize the ROD and EIS, which

15   speak for themselves and are the best evidence of their contents. To the extent a response is

16   required, the PRSRA denies the allegations.

17          127.    The allegations in Paragraph 127 purport to characterize the ROD, which speaks

18   for itself and is the best evidence of its contents. To the extent a response is required, the PRSRA

19   denies the allegations.

20          128-129. The allegations in Paragraphs 128-129 purport to characterize the ROD and

21   EIS, which speak for themselves and are the best evidence of their contents. To the extent a

22   response is required, the PRSRA denies the allegations.

23          130. The allegations in Paragraph 130 purport to characterize the ROD, which speaks for
     itself and is the best evidence of its contents. To the extent a response is required, the PRSRA
24
     denies the allegations.
25
            NPS’s Nonimpairment Determination
26
            131-137. The allegations in Paragraphs 131-137 purport to characterize the ROD, which
27
     speaks for itself and is the best evidence of its contents.
28
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     [PROPOSED] ANSWER                                                             4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 14 of 19




1            ROD Implementation
2            138.    The PRSRA admits the allegations in the first sentence of Paragraph 138. The
3    PRSRA lacks knowledge or information sufficient to form a belief as to the truth of the
4    allegations in the second sentence of Paragraph 138, and therefore denies the same.

5            139.    The PRSRA lacks knowledge or information sufficient to form a belief as to the

6    truth of the allegations in Paragraph 139, and therefore denies the same.

7            140.    The PRSRA admits that that issuance of long-term leases could allow ranchers to

8    more easily obtain loans to upgrade ranch infrastructure and provide for business security. The

9    PRSRA lacks knowledge or information sufficient to form a belief as to the truth of the

10   remaining allegations in Paragraph 140.

11           141.    The PRSRA lacks knowledge or information sufficient to form a belief as to the

12   truth of the allegations in Paragraph 141.
                                           FIRST CLAIM FOR RELIEF
13                               VIOLATION OF POINT REYES ACT AND APA
14           142.    The PRSRA hereby incorporates by reference its responses to paragraphs 1-141
15   as though fully set forth herein.
16           143.    The allegations in Paragraph 143 purport to characterize Plaintiffs’ first claim for
17   relief, to which to no response is required.
18           144.    The allegations in Paragraph 144 purports to characterize 16 U.S.C. § 459c, 459c-
19   6(a), and 459c-5(a), which statutes speak for themselves and are the best evidence of their
20   contents.
21           145-147. The allegations in Paragraphs 145-147 constitute conclusions of law, to which
22   no response is required.
23           148.    The allegations in Paragraph 148 purport to characterize the ROD, which speaks
24   for itself and is the best evidence of its contents.

25           149.    The allegations in Paragraph 149 constitute conclusions of law, to which no

26   response is required.

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     [PROPOSED] ANSWER                                                            4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 15 of 19




                                  SECOND CLAIM FOR RELIEF
1
                           VIOLATION OF ORGANIC ACT & REGULATIONS
2            150.      The PRSRA hereby incorporates by reference its responses to paragraphs 1-149
3    as though fully set forth herein.
4            151.      The allegations in Paragraph 151 purport to characterize Plaintiffs’ second claim
5    for relief, to which to no response is required.
6            152.      The allegations in Paragraph 152 purport to characterize 54 U.S.C. § 100101(a)
7    and the 2006 NPS Management Policies, which speak for themselves and are the best evidence
8    of their contents.
9            153.      The allegations of Paragraph 153 purport to characterize 54 U.S.C. § 102101 and
10   the 2006 NPS Management Policies, which speak for themselves and are the best evidence of
11   their contents.
12           154.      The allegations in Paragraph 154 purport to characterize the Park Service Organic
13   Act, which speaks for itself and is the best evidence of its contents.
14           155.      The allegations in Paragraph 155 purport to characterize NPS regulations, which
15   speak for themselves and are the best evidence of their contents.
16           156.      The allegations in Paragraph 156, including subparagraphs A – E, constitute legal
17   conclusions, to which no response is required.
18           157.      The allegations in Paragraph 157 constitute legal conclusions, to which no
19   response is required.
                                 THIRD CLAIM FOR RELIEF
20
                    VIOLATION OF NATIONAL ENVIRONMENTAL POLICY ACT
21           158.      The PRSRA hereby incorporates by reference its responses to paragraphs 1-157
22   as though fully set forth herein.
23           159.      The allegations in Paragraph 159 purport to characterize Plaintiffs’ third claim for
24   relief, to which to no response is required.
25           160-162. The allegations in Paragraphs 160-162 purport to characterize NEPA and its
26   implementing regulations, which speak for themselves and require no response.
27           163.      The allegations in Paragraph 163 purport to characterize Or. Natural Desert
28   Ass’n. v. Bureau of Land Mgmt., 625 F.3d 1092, 1120 (9th Cir. 2010).
                                                 -15-
     [PROPOSED] ANSWER                                                              4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 16 of 19




1           164.    The allegations in Paragraph 164, including subparagraphs A – D, constitute legal
2    conclusions, to which no response is required.
3           165.    The allegations in Paragraph 165 constitute legal conclusions, to which no
4    response is required.
                                  FOURTH CLAIM FOR RELIEF
5                             VIOLATION OF THE CLEAN WATER ACT
6           166.    The PRSRA hereby incorporates by reference its responses to paragraphs 1-165
7    as though fully set forth herein.
8           167.    The allegations in Paragraph 167 purport to characterize Plaintiffs’ fourth claim
9    for relief, to which to no response is required.
10          168.    The allegations in Paragraph 168 purport to characterize the Clean Water Act
11   (“CWA”), which speaks for itself and requires no response.
12          169.    The allegations in Paragraph 169 purport to characterize the requirements of the
13   Basin Plan, the CAF Order, the Conditional Waiver and other unnamed requirements. These
14   documents speak for themselves and are the best evidence of their contents.
15          170.    The PRSRA lacks knowledge or information sufficient to form a belief as to the
16   truth of the allegations in the first sentence of Paragraph 170, and thus denies the same. The
17   PRSRA denies the second sentence of Paragraph 170. The third sentence of Paragraph 170 is too
18   vague and generalized to permit a response and the PRSRA therefore denies the same.
19          171-174. The allegations in Paragraphs 171-174 constitute legal conclusions, to which no
20   response is required.
21                                        PRAYER FOR RELIEF
22          The remainder of the complaint constitutes Plaintiff’s requested relief, which requires no
23   response and is therefore denied.
24                                          GENERAL DENIAL

25          To the extent any allegations of the complaint have not been admitted or specifically

26   responded to, the PRSRA denies such allegations.

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     [PROPOSED] ANSWER                                                           4:22-cv-00145-MMC
            Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 17 of 19




1                                       AFFIRMATIVE DEFENSES
2           1.       To the extent that Plaintiffs have failed to state a claim on which relief can be
3    granted, any such claims should be dismissed.
4           2.       To the extent that the Court lacks jurisdiction over some or all of Plaintiffs’

5    claims, any such claims should be dismissed.

6           3.       Plaintiffs may lack standing over one of more of their claims.

7           4.       Plaintiffs may have failed to exhaust administrative remedies over one or more of

8    their claims.

9           5.       Plaintiffs’ claims are barred to the extent they are not ripe for adjudication.

10          7.       Intervenors currently have insufficient knowledge or information as to whether

11   they are entitled to other, separate affirmative defenses and reserve their right to later assert

12   additional defenses to these and other claims for relief as appropriate.

13                                            CROSS-CLAIMS

14          1.       The PRSRA reserves the right to assert one or more cross-claims against NPS.

15          WHEREFORE, defendant-intervenors deny that Plaintiffs are entitled to the relief

16   requested, or to any relief whatsoever, and thus request that the Court dismiss Plaintiffs’

17   Complaint, Dkt. No. 1, with prejudice, that judgment be entered in favor of federal defendants

18   and defendant-intervenors, and that the Court order such other relief as it deems necessary.

19          Respectfully submitted this 20th day of April, 2022.

20                                                  /s/ Tony Francois
                                                    Tony Francois, Cal. Bar #184100
21
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                                                    /s/ Caroline Lobdell
26                                                  Caroline Lobdell, Ore. Bar #021236, PHV
                                                    forthcoming
27
28
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     [PROPOSED] ANSWER                                                              4:22-cv-00145-MMC
         Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 18 of 19




                                      /s/ Aaron Bruner
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     [PROPOSED] ANSWER                                            4:22-cv-00145-MMC
           Case 3:22-cv-00145-MMC Document 30-1 Filed 04/20/22 Page 19 of 19




                                     CERTIFICATE OF SERVICE
1
2           I, Tony Francois, hereby certify that I, on April 20, 2022, I caused the foregoing to be

3    served upon counsel of record through the Court’s electronic service system.
4
            Dated: April 20, 2022
5
                                                  /s/ Tony Francois
6                                                 Tony Francois
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     [PROPOSED] ANSWER                                                           4:22-cv-00145-MMC
